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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            Case No. 09-20215

               Plaintiff,                            HONORABLE SEAN F. COX
                                                     United States District Judge
v.

D-2 JOSE CASTRO-RAMIREZ,

            Defendant.
___________________________________/

                       ORDER FOLLOWING JUNE 29, 2010 HEARING

       On March 11, 2010, a jury found Dr. Jose Castro-Ramirez guilty of one count of

conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349, eleven counts of health

care fraud, in violation of 18 U.S.C. § 1347, and one count of conspiracy to commit money

laundering, in violation of 18 U.S.C. § 1956(h). [See Doc. No. 285]. Sentencing for Dr. Castro-

Ramirez was originally scheduled for June 29, 2010.

       At the June 29, 2010 sentencing, Defense Counsel informed the Court that, despite his

best efforts, he has not had sufficient time to review the Presentence Investigation Report with

his client. The Court also sought clarification from Defense Counsel as to the precise nature of

his objections to Dr. Castro-Ramirez’ Presentence Investigation Report.

       Therefore, the Court ORDERS Dr. Castro-Ramirez to file an amended sentencing

memorandum, addressing Dr. Castro-Ramirez’ specific objections to the Presentence

Investigation Report’s individually numbered paragraphs, no later than Thursday, July 15,

2010. Dr. Castro-Ramirez’ sentencing is ADJOURNED to Wednesday, July 28, 2010 at 9:30

a.m., at which time the Court will also consider the Government’s Application for Entry of a

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Preliminary Order of Forfeiture & Money Judgment [Doc. No. 328]. Should the sentencing of

Dr. Castro-Ramirez not be completed on July 28, 2010, the Court reserves Wednesday, August

18, 2010 at 2:00 p.m. as a control date for completion of the sentencing.

       IT IS SO ORDERED.


                              s/Sean F. Cox
                              Sean F. Cox
                              United States District Judge

Dated: June 29, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
June 29, 2010, by electronic and/or ordinary mail.

                              s/Jennifer Hernandez
                              Case Manager




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